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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                           Plaintiffs,                         Case No. 1:25-cv-10685 (WGY)

          v.

MARCO RUBIO, ET AL.,

                           Defendants.


   PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE DEFENDANTS’ PROPOSED
      SUMMARY EXHIBITS UNDER FEDERAL RULE OF EVIDENCE 1006

       Plaintiffs move to exclude five summary exhibits Defendants intend to introduce through

a summary witness. The proposed summary exhibits violate Rule 1006 in several respects.1 First,

they are irrelevant to the issues in this case and thus inadmissible. Second, they fall outside the

scope of Rule 1006 because they are not being offered to prove the contents of voluminous source

materials. And third, the exhibits are misleading and do not accurately summarize the source

materials.2


   1
     As the First Circuit has explained, “Federal Rule of Evidence 1006 provides that a party may
summarize the contents of voluminous writings, recordings, or photographs which cannot
conveniently be examined in court, so long as the summary is accurate, the underlying documents
are made available to the other parties, and both the summary and the source materials are
admissible.” United States v. Appolon, 695 F.3d 44, 61 (1st Cir. 2012). As the proponent of the
summary exhibits, the government must establish their relevance and authenticity. See 31 Charles
A. Wright & Arthur R. Miller, Federal Practice and Procedure § 8043 (2d ed. 2025). To establish
authenticity, the government “should present the testimony of the witness who supervised [their]
preparation.” Colón-Fontánez v. Municipality of San Juan, 660 F.3d 17, 31 (1st Cir. 2011) (cleaned
up).
   2
     Defendants also cannot use these summary charts as pedagogical devices under Fed. R. Evid.
611(a), because the rule requires the supporting materials to be admitted into evidence, which is
not the case here. See United States v. Milkiewicz, 470 F.3d 390, 397 (1st Cir. 2006).


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       The proposed summary exhibits are the following.

       1. “Comparison of AAUP & MESA Political Activity April 2024 and April 2025.”
          The source materials for this exhibit appear to be the number and location of all campus
          events held as part of the April 17, 2024 National Day of Action in Higher Education
          and the April 17, 2025 National Day of Action in Higher Education. See Defs. Ex. HH.

       2. “AAUP Palestine/Israel Blog Posts.” The source materials appear to be a list of all
          AAUP blog posts that are tagged “Israel-Palestine” or “Israel-Hamas war” on the
          AAUP website from 2022 to 2025. See Defs. Ex. HI.

       3. “Comparison of AAUP Public Events 2022-2025.” The source materials for this
          summary exhibit are unclear. It appears that Defendants cobbled together a list of
          AAUP events from 2022 to 2025 that were shown on historical versions of the AAUP
          website accessible on the Internet Archive Wayback Machine. Defendants have not
          provided Plaintiffs with any information regarding how they determined what
          constitutes an “AAUP Public Event” or a “Palestine/Israel Associated Event.” See
          Defs. Ex. HJ.

       4. “MESA Posts on Palestine 2022-2025.” The source materials appear to be a list of
          the MESA website posts from 2022 to 2025 that include the word “Palestine” anywhere
          in the title or text. See Defs. Ex. HK.

       5. “2024-2025 Palestine/Israel Google Returns.” The source material is the number of
          Google search results for 2024 and 2025 for the following search terms: the name of
          each of Plaintiffs’ witnesses and “Israel” or “Palestine.” See Defs. Ex. HL.

       These proposed exhibits and their source materials are irrelevant because they have nothing

to do with the issues in this case—most notably the ideological deportation policy’s chilling effect

on the political speech of AAUP’s and MESA’s noncitizen members. Plaintiffs are not arguing

that the organizations themselves have been chilled. Notably, this Court has already ruled that the

source material for one of these exhibits—“2024-2025 Palestine/Israel Google Returns”—is

irrelevant. When cross-examining Megan Hyska on July 7, 2025, William Kanellis asked her, “Are

you aware of how many public posts are available in Google, relating to your name and the word

‘Palestine’?” July 7 Trial Tr. 101:5–6. The Court sustained Plaintiffs’ objection and ruled that the

question was “irrelevant.” Tr. 101:7–13.




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             These exhibits also fall outside the scope of Rule 1006, because they are not being “offered

to prove the contents of voluminous source material . . . that cannot conveniently be examined in

court.” 31 Wright & Miller, Fed. Prac. & Proc. § 8043; Appolon, 695 F.3d at 61 (“The purpose of

Rule 1006 is to provide a practicable means of summarizing voluminous information.” (cleaned

up)). The source materials for these exhibits are not voluminous. In general, they consist of search

results, which anyone could duplicate in seconds. Defendants also are not seeking to prove the

source materials’ contents. Instead, they are seeking to introduce mere tallies of search results.

             Finally, the exhibits fail to “summarize[] the information contained in the underlying

documents accurately, correctly, and in a nonmisleading manner.” United States v. Bray, 139 F.3d

1104, 1110 (6th Cir. 1998); see also Milkiewicz, 470 F.3d at 396 (following Bray). Each exhibit

title is misleading. For example, “MESA Posts on Palestine 2022-2025” does not show the total

number of posts about Palestine on the MESA website. Instead, it shows the total number of posts

on the MESA website that include the word “Palestine” anywhere in the text. As a result, the

exhibit sweeps in many posts that are not about Palestine, such as one titled “2025 Nominating

Committee Election & Referendum,” which includes bios for the candidates and titles for some of

their scholarly works.3 Several of these titles include the word “Palestine.”4

             Another exhibit—“Comparison of AAUP & MESA Political Activity April 2024 and April

2025”—has a misleading title and misrepresents the source material. The title is misleading,

because the exhibit does not show AAUP and MESA “political activity”—whatever that means—

in April 2024 and April 2025. Instead, it shows the nationwide locations of all campus events held

on the Coalition for Action in Higher Ed’s April 17, 2024 National Day of Action and April 17,


   3
       MESA, 2025 Nominating Committee Election & Referendum, https://perma.cc/UF4H-5ZRX.
   4
       Id.


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2025 National Day of Action. The Coalition includes 20 organizations, not just AAUP and

MESA.5 The exhibit is also misleading because it shows only nine campus events for the 2024

National Day of Action when in fact there were over 100 campus events.6

                                       CONCLUSION

         For these reasons, Plaintiffs respectfully request that the Court exclude Defendants’

proposed summary exhibits.

 July 14, 2025                            Respectfully submitted,

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  5
     Coalition for Action in Higher Ed, April 17, 2025 Day of Action for Higher Ed,
https://perma.cc/7LQX-K7V8.
  6
     Kelly Banjamin, National Day of Action for Higher Education, Academe Magazine,
https://perma.cc/9XEP-WL4C. The Coalition for Action in Higher Ed described nine of the events
on its website. Coalition for Action in Higher Ed, 2024 Day of Action Wrap-Up,
https://perma.cc/ZN43-PAE6. For the 2025 National Day of Action, by contrast, the Coalition
provided a map and a detailed spreadsheet showing every event. See supra n.5.


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                            Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I, the undersigned counsel, certify that on July 14, 2025, I electronically filed the foregoing

motion in the United States District Court for the District of Massachusetts using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and that service will

be accomplished by the CM/ECF system.

 July 14, 2025                                /s/ Scott Wilkens
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